Case 1:15-cr-10150-GAO Document 211 Filed 01/29/18 Page 1 of 4

UNITED STATES DiSTRICT COVRT |
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Case 1:15-cr-10150-GAO Document 211 Filed 01/29/18 Page 3 of 4

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Case 1:15-cr-10150-GAO Document 211 Filed 01/29/18 Page 4 of 4

 

 

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